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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA,                                  CASE NO. 19-CR-20284-RS-1

                          Plaintiff,

 vs.

 ARMENGOL ALFONSO CEVALLOS DIAZ,

                   Defendant.
 _________________________________________/

                DEFENDANT, ARMENGOL ALFONSO CEVALLOS DIAZ’
                    UNOPPOSED MOTION TO CONTINUE TRIAL

        COMES NOW the Defendant, ARMENGOL ALFONSO CEVALLOS DIAZ, by and

 through his undersigned counsel, and presents herewith, his Unopposed Motion to Continue Trial,

 and states as follows:

        1.      On May 9, 2019, an Indictment was filed therein charging the Defendant and a Co-

 Defendant with the following: Count One – Conspiracy to Violate the Foreign Corrupt Practices

 Act (“FCPA”), in violation of Title 15 U.S.C. §78dd-3(a)(l) and Title 18 U.S.C. §371; Count Two

 - Conspiracy to Commit Money Laundering, in violation of Title 18 U.S.C. §1956(c)(7)(B)(iv)

 and Title 18 U.S.C. §1956(h); Counts Three through Six - Money Laundering, in violation of Title

 18 U.S.C. §1956(c)(7)(B)(iv) and Title 18 U.S.C. §1956(a)(l)(B)(i); Counts Seven through Eleven

 - Money Laundering, in violation of Title 18 U.S.C. §1956(c)(7)(B)(iv)\ and Title 18 U.S.C.

 §1956(a)(2)(A). [D.E. 3]

        2.      On June 4, 2019, the Government filed its first response to the standing discovery

 order and furnished highly voluminous discovery to the defense. [D.E. 23]
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            3.     On Friday, August 30, 2019, the Government advised counsel that the United States

 specifically intends to offer at trial foreign records of regularly conducted business activities obtained

 from Panama, Ecuador, and the Cayman Islands via Mutual Legal Assistance Treaty requests.

            Although the Government asserts that these records along with foreign certifications have been

 provided and identified through its productions to the defense, the voluminous nature of these items

 require extensive study by the defense that involve research into international law as well as the

 assurance that the Government has properly complied with all Mutual Legal Assistance Treaty

 requirements. Further, the Government advised that it may receive supplemental records from these

 and other jurisdictions and would intend to offer those records at trial as well.

            4.     Co-Counsel, Ana M. Davide, has recently been retained by the Defendant to facilitate

 the review of the extensive discovery with the Defendant inasmuch as she speaks both English and

 Spanish fluently, whereas Co-Counsel, Philip L. Reizenstein, does not speak Spanish. (A Notice of

 Appearance was filed by Ana M. Davide on August 25, 2019. [D.E. 49])

            Although it is true that Mr. Reizenstein’s co-counsel, Jorge Luis Viera, does speak Spanish

 fluently, the Defendant desired additional Spanish speaking counsel to afford a differing viewpoint

 from which to analyze and digest the extensive discovery furnished by the Government thus far.

            Further, it should be noted that Ana M. Davide, Esq., has maintained contact with the United

 States Justice Department attorneys in Washington, DC, and they are fully in accord with the

 continuance requested herein due to the complex nature of this case and the discovery applicable

 thereto.

            5.     The jury trial of this cause is presently scheduled for October 15, 2019, with the

 calendar call on October 8, 2019. [D.E. 40]




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         6.      It is respectfully submitted that the present trial setting will not accord the defense

 adequate time in which to prepare this highly complex Foreign Corrupt Practices Act (“FCPA”) and

 Money Laundering case for trial.

         7.      Therefore, the Defendant respectfully requests a continuance of the trial for a period of

 forty-five (45) days beyond the present October 15, 2019 trial setting, or whatever date proximate

 thereto that would be in accord with this Honorable Court’s calendar.

         8.      On August 19, 2019, the Co-Defendant, Jose Melquiades Cisneros Alarcon, entered

 his plea of guilty, therefore this has become a one-defendant case for trial. [D.E. 44]

         9.      This unopposed motion to continue the trial is filed in the utmost of good faith and

 in the interest of justice, and is not the result of a lack of due diligence.

                        COMPLIANCE WITH SDFL LOCAL RULE 88.9

         10.     In accordance with SDFL Local Rule 88.9, the undersigned counsel has been in

 contact with Katherine Raut, a Trial Attorney with the Fraud Section of the United States

 Department of Justice in Washington, DC, and she has advised that the Government does not

 oppose the relief requested herein.

   DEFENDANT’S ACKNOWLEDGMENT OF SPEEDY TRIAL EXCLUDABLE TIME

         11.     The Defendant, ARMENGOL ALFONSO CEVALLOS DIAZ, has been advised

 of his right to a speedy trial under the Speedy Trial Act, 18 U.S.C. §3161.

         12.     The Defendant freely and voluntarily waives his constitutional right to a speedy

 trial in this matter, and fully understands that the period of this continuance will be excluded from

 the computation of applicable time for the purposes of the Speedy Trial Act.

         13.     Further, the Defendant has authorized his attorney, Ana M. Davide, Esq., to advise

 this Honorable Court of his waiver of speedy trial in this cause as stated herein.




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        WHEREFORE,          Defendant,    ARMENGOL         ALFONSO         CEVALLOS        DIAZ,

 respectfully prays that this Honorable Court enter its order granting the within Unopposed Motion

 to Continue Trial for a minimum of forty-five (45) days beyond the present October 15, 2019 trial

 setting, or whatever date proximate thereto that would be in accord with this Honorable Court’s

 calendar.

                                                     Respectfully submitted,

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                                                     Armengol Alfonso Cevallos Diaz.)

                                                     /s/ Ana M. Davide
                                                     Ana M. Davide, Esq.

                                                     Respectfully submitted,

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                                                     (Co-counsel for Defendant,
                                                     Armengol Alfonso Cevallos Diaz)

                                                     /s/ Philip L. Reizenstein
                                                      PHILIP L. REIZENSTEIN

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 3rd day of September, 2019, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the


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 attached service List in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.

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                                          SERVICE LIST

                  United States of America v. Armengol Alfonso Cevallos Diaz
                                  Case No. 19-CR-20284-RS-1
                   United States District Court, Southern District of Florida

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